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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )               CR. NO. 06-00395-02 DAE
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
MARVIN QUEMADO, JR., (02) )
                              )
          Defendant.          )
_____________________________ )

                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

               The defendant, by consent, has appeared before me pursuant to Rule

11, Fed.R.Crm.P., and has entered a plea of guilty to the Indictment. After

examining the defendant under oath, I have determined that the defendant is fully

competent and capable of entering an informed plea, that the guilty plea was

intelligently, knowingly and voluntarily made, and that the offense charged is

supported by an independent basis in fact establishing each of the essential

elements of such offense. I therefore recommend that the plea of guilty be

accepted and that the defendant be adjudged guilty and have sentence imposed

accordingly.
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             IT IS SO RECOMMENDED.



                                       /s/ Barry M. Kurren
                                       United States Magistrate Judge
                                       Dated: May 7, 2007



                                      NOTICE
      Failure to file written objections to this Report and Recommendation
within ten (10) days from the date of its service shall bar an aggrieved party
from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. § 636(b)(1)(B).




UNITED STATES OF AMERICA V. MARVIN QUEMADO, JR.; CR. NO. 06-00395 DAE; REPORT AND
RECOMMENDATION CONCERNING PLEA OF GUILTY




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